                 Case 1-18-44358-ess              Doc 12        Filed 11/23/18          Entered 11/24/18 00:18:08

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-44358-ess
Leonard Becker                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: admin                        Page 1 of 2                          Date Rcvd: Nov 21, 2018
                                      Form ID: 318DF7                    Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 23, 2018.
db              Leonard Becker,   353 Beach Ave,    Staten Island, NY 10306-4335
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9321580       ++AMERICAN HONDA FINANCE,    P O BOX 168088,   IRVING TX 75016-8088
               (address filed with court: American Honda Finance,      1220 Old Alpharetta Rd,
                 Alpharetta, GA 30005-3968)
9321584         Citibankna,   Citibank Corp/Centralized Bankruptcy,     PO Box 790034,
                 Saint Louis, MO 63179-0034
9321590         Hunter S Way,   Hunter Warfield,    4629 Woodland Corporate Blvd,    Tampa, FL 33614-2414
9321593         NYFD EMS ambulance service,    PO Box 25108,    Brooklyn, NY 11202-5108
9321594         Richmond University Medical Ctr,    PO Box 788051,    Philadelphia, PA 19178-8051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Nov 21 2018 18:35:34
                 NYS Department of Taxation & Finance,   Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Nov 21 2018 18:35:12
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,     New York, NY 10014-9449
9321579         EDI: HNDA.COM Nov 21 2018 23:28:00     American Honda Finance,     Attn: Bankruptcy,
                 PO Box 168088,   Irving, TX 75016-8088
9321581         EDI: CHASE.COM Nov 21 2018 23:28:00     Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
9321582         EDI: CHASE.COM Nov 21 2018 23:28:00     Chase Card Services,     Correspondence Dept,
                 PO Box 15298,   Wilmington, DE 19850-5298
9321583         EDI: CITICORP.COM Nov 21 2018 23:29:00     Citi,    PO Box 6241,    Sioux Falls, SD 57117-6241
9321585         EDI: CITICORP.COM Nov 21 2018 23:29:00     Citibankna,    PO Box 769006,
                 San Antonio, TX 78245-9006
9321586        +EDI: FORD.COM Nov 21 2018 23:28:00     Frd Motor Cr,    PO Box BOX542000,    Omaha, NE 68154-8000
9321587         E-mail/Text: bk@hughesfcu.org Nov 21 2018 18:35:23      Hughes Fed Cr Un,    951 E Hermans Rd,
                 Tucson, AZ 85756-9000
9321588         E-mail/Text: bk@hughesfcu.org Nov 21 2018 18:35:23      Hughes Federal Cr Un,    951 E Hermans Rd,
                 Tucson, AZ 85756-9000
9321589         E-mail/Text: bk@hughesfcu.org Nov 21 2018 18:35:23      Hughes Federal Credi,    Attn: Bankruptcy,
                 PO Box 11900,   Tucson, AZ 85734-1900
9321591         E-mail/Text: HWIBankruptcy@hunterwarfield.com Nov 21 2018 18:35:15       Hunter Warfield,
                 4620 Woodland Corporate Blvd,   Tampa, FL 33614-2415
9321592         EDI: FORD.COM Nov 21 2018 23:28:00     Lincoln Automotive Financial Service,     Attn: Bankruptcy,
                 PO Box 542000,   Omaha, NE 68154-8000
9321595         EDI: RMSC.COM Nov 21 2018 23:29:00     Syncb/Bp DC,    PO Box 965024,    Orlando, FL 32896-5024
9321596         EDI: RMSC.COM Nov 21 2018 23:29:00     Synchrony Bank,    Attn: Bankruptcy Dept,     PO Box 965060,
                 Orlando, FL 32896-5060
                                                                                              TOTAL: 15

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 23, 2018                                             Signature: /s/Joseph Speetjens
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                             Form ID: 318DF7             Total Noticed: 23

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 21, 2018 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;tmoss@windelsmarx.com;n159@ecfcbis.com;jryan@windelsmarx.com
              Kevin Zazzera    on behalf of Debtor Leonard Becker kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Leonard Becker                                             Social Security number or ITIN   xxx−xx−6978
                      First Name   Middle Name    Last Name                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−18−44358−ess



Order of Discharge and Final Decree                                                                               Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Leonard Becker




IT IS FURTHER ORDERED:

        • Alan Nisselson (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: November 21, 2018                                             s/ Elizabeth S. Stong
                                                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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